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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 95 APR 29 PH 3: 27
WESTERN DIVISION R v
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W rN, MEM'P)~HS'
MARY BRUNSON, lndividually,
and as Executor ofthe Estate of
Naomi Attanasio, Deceased,
Plaintiff,
v. No. 04-2782~DP

FEDERATED DEPARTMENT STORES,
INC., and METROPOLITAN LIFE
INSURANCE COMPANY,

Defendants.

 

 

ORDER GRANTING DEFENDANTS’ COMBINED MOTION
AND MEMORANDUM FOR LEAVE TO FILE REPLY
MEMORANDUM IN SUPPORT OF MOTION FOR JUDGMENT

 

Federated Departmenl Stores, Inc. (“Federated”) and Metropolitan Life lnsurance Company
(“MetLife”) (collectively “Defendants”), have filed a Motion for Leave to tile the Reply
Memorandum in Support of Motion for Judgment which is appended to their Combined Motion and
Memorandum, and it appearing that leave to reply should be granted,

IT IS HEREBY ORDERED that Defendants are granted leave to file the ReplyMemoranduIn
which is appended to their Motion for Leave, and the same is considered tiled.

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Thls document entered on the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CV-02782 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

